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       EXHIBIT 6
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February 27, 2015

Order ID: 113-1573928-2593000

Amazon Seller Nickname: “DiamondMindMarketing”


The seller named above is selling counterfeit Travelrest through the Amazon marketplace. They are violatiing our
utility patent, design patent, and brand trademark by offering such product for sale. A "test buy" has been made
and proof of violation is evidenced in attached images.




                                                                 authentic     counterfeit




        left: counterfeit travelrest in box
        right: genuine travelrest in clamshell package




                                                                   counterfeit directions in
                                                                   black and white




                                                                   authentic directions printed
                                                                   in color

         left: counterfeit with beach ball valve
         right: genuine travelrest with large travelrest valve
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                         Seller: Batlow
                Order #: 115-9079507-3051448
           Order Date: 6/11/15 for ASIN: B001DYDAEK
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12/9/15

Order ID: 107-2890319-4369810
ASIN: B014KN94G8
Amazon Seller Nickname: “iResources”

The seller named above is selling counterfeit Travelrest through the Amazon marketplace. They are violatiing our
and proof of violation is evidenced in attached images. Seller created their own pillow directions yet failed
to remove faux “travelrest” directions from factory. Seller is trying to white label a knock off.
          Case 3:16-cv-01110-H-JLB Document 1-7 Filed 05/09/16 PageID.44 Page 5 of 5
July 3, 2015

Order ID: 115-3665939-3648200

Amazon Seller Nickname: “Amazon Warehouse Deals; Warehouse Deals, Inc”


The seller named above is selling counterfeit Travelrest through the Amazon marketplace. They are violatiing our
utility patent, design patent, and brand trademark by offering such product for sale. A "test buy" has been made
and proof of violation is evidenced in attached images.




      counterifeit
